 1
     Mike I. Todd                            The Honorable Whitman L Holt
 2   Chapter 13 Trustee
     P.O. Box 1513
 3
     Spokane, WA 99210-1513
 4   (509)747-8481
 5
 6
                       UNITED STATES BANKRUPTCY COURT
 7                     EASTERN DISTRICT OF WASHINGTON
 8
     In Re:                                   )    Case No. 24-00269-WLH13
 9   Byrd, Benjamin Alex                      )
10                             Debtor(s).     )
                                              )    Amended Objection to Confirmation
11
                                              )
12
        The Trustee objects to the Chapter 13 plan for the following reason(s):
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14   The plan is not feasible. 11 USC § 1325.
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     1. There is no treatment in the plan for, nor has an objection been filed to the
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17   secured claim filed by Community South Credit Union in the amount of
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     $11,019.24.
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20   2. There is no treatment in the plan for, nor has an objection been filed to the
21   post petition mortgage fee claim filed by Carrington Mortgage Services in the
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     amount of $566.50.
23
24
25
     The plan is not feasible. 11 USC § 1325(a)(6). The debtor will be unable to
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27   make all plan payments that come due over the term of the plan. The debtor is
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     Amended Objection to Confirmation. - 1

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 1   currently delinquent $21,264.50 through November 2024 and has not remitted a
 2
     plan payment since June of 2024.
 3
 4   Dated: 11/7/2024                        Mike I. Todd
 5
                                             Chapter 13 Trustee

 6
 7                                           /s/ Mike I. Todd
                                             Mike I. Todd
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     Amended Objection to Confirmation. - 2

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